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May 2022
                                      JOSEPH TUROW
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                                     University of Pennsylvania
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   General Information
Academic Record

Ph.D. University of Pennsylvania (in Communications)
M.A. The Annenberg School of Communications
           University of Pennsylvania
B.A. The University of Pennsylvania (in English)
Professional Experience

1998-present Robert Lewis Shayon Chair Professor
2011-2018 Associate Dean for Graduate Studies
2003-2009 Associate Dean for Graduate Studies
2002-2007 Director, Information and Society division, Annenberg Public Policy Center
1990-present Professor, University of Pennsylvania
1986-1990 Associate Professor, University of Pennsylvania
1981-1986 Associate Professor, Purdue University
1985      Visiting Associate Professor (Summer) UCLA
1976-1981 Assistant Professor, Purdue University
1980      Visiting Assistant Professor (Summer) UCLA
1974 & 1975 Summer Lecturer, Drexel University
1972-1974 Graduate Teaching and Research Assistantships

Awards and Honors

- The Daily You (Yale University Press, 2011) named a “keywork in advertising research” for a
volume to be published by Springer.
- Major grant from the Digital Trust Foundation to study a national survey of the privacy
behaviors and needs of people with low economic status, August, 2015.
- Presented with the John P. McGovern Health Communication Award from the University of
Texas School of Communication, for the book Playing Doctor, April 2013.
-Presented with the Distinguished Scholar Award by the National Communication Association,
November 2010.
- Elected a Fellow of the International Communication Association, June 2010
-Astor Visiting Lectureship, Oxford University, for January 2009.
-Pockrass Memorial Lecturer, Penn State University, April 16, 2007.
-Grant from the John D. and Catherine T. MacArthur Foundation in support of The
Hyperlinked Society conference of June 2006.
-Grants from the Robert Wood Johnson Foundation to create multi-media essay on CD-ROM
aimed at educating medical students about how prime time television’s images of health care
might influence their patients, September 2005-July 2006 and July 2003-March 2004; distributed
in Summers 2003, 2004, and 2005; 2nd edition created and distributed to first year medical
students throughout the US in Summer 2006, Summer 2007, and Summer 2008.


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- Best faculty paper award (with coauthor Rivka Ribak), International Communication Division,
Association for Education in Journalism and Mass Communication, presented at August 2002
conference.
- Major grant from Kaiser Family Foundation to study health policy issues on TV hospital
programs, 2002.
- Chancellor’s Distinguished Lecturer, Louisiana State University, April 2000.
- Commendation from the Provost’s office for being named as the teacher of the “best doctoral
course at Penn” by at least one of Penn’s Ph.D. graduates of 1999.
 - Awarded major grants from the Annenberg Public Policy Center for a multi-faceted study of
the family and the Internet, 1998-2000.
- With Professors Kathleen Hall Jamieson and Joseph Cappella, awarded a major grant from the
Ford foundation for research on the content, consequences and print-media coverage of
political talk radio, 1996.
- Appointed to the National Endowment for Children’s Educational Television of the US
Department of Commerce, 1995-1997.
-Awarded a National Endowment for the Humanities Summer Stipend, Senior Division, 1994.
-Elected to chair the Mass Communication Division of the International Communication
Association, 1993-1997
-Invited to teach a "master's session" at the 1991 annual International Communication
Association Conference
-Appointed as a Commonwealth Speaker for 1991 by the Pennsylvania Humanities Council
-Awarded competitively selected research grant from the University of Pennsylvania Research
Foundation, 1988-1989
-Appointed as a Commonwealth Speaker for 1989 by the Pennsylvania Humanities Council
-Appointed to the National Endowment for the Humanities Summer Stipend Advisory
Committee, 1987
-Awarded a National Endowment for the Humanities Summer Stipend, Senior Division, 1986
-Top Three Mass Communication Division Paper, Mass Communication, 1977 and 1984 Speech
Communication Association Conferences
-Top Ten Mass Communication Division Paper, 1981, 1983, and 1984 International
Communication Association Conferences
-Authored a book designated "Book of the Month" by COMMUNICATION BOOKNOTES
(May 1984)
-Recipient of the Russel Nye Award of the Popular Culture Association for the best article in the
JOURNAL OF POPULAR CULTURE, 1982-83.
-Departmental Best Teaching Award, 1981 and 1983
-Dissertation Research Scholarship, 1975-1976
-University (work-free) fellowship, 1974-1975
-Full tuition scholarship, throughout graduate career
-Research and Teaching Assistantships, 1972-1974
-Dean's List With Distinction
-Phi Beta Kappa, 1971

Membership in Scholarly Societies

International Communication Association, 1973 -
Speech Communication Association, 1976 –
Association for Internet Researchers, 2012-




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   Research and Scholarship
Authored Books

Joseph Turow, THE VOICE CATCHERS: HOW MARKETERS LISTEN IN TO EXPLOIT
YOUR FEELINGS, YOUR PRIVACY, AND YOUR WALLET, Yale University Press. 2021;
Published in print, digital, and audio formats. One of Business Insider’s “21 books on Big Tech
to watch out for in 2021.” Licensed by Yale U Press to be translated into Spanish, Chinese, and
Korean.

Joseph Turow, MEDIA TODAY: AN INTRODUCTION TO A CONVERGING WORLD.
New York: Routledge, fully revised 8th edition in press for 2023. The 4th edition was translated
into Serbian in two volumes, published in 2012 and 2013, respectively.

Joseph Turow, THE AISLES HAVE EYES: HOW RETAILERS TRACK YOUR
SHOPPING, STRIP YOUR PRIVACY, AND DEFINE YOUR POWER. New Haven and
London: Yale University Press, 2017. Published in print, digital, and audio formats.

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SHAPING YOUR IDENTITY AND YOUR WORLD. New Haven: Yale University Press,
2011. Translated into Turkish and published in 2015.

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POWER. Originally New York: Oxford University Press, 1989; Updated and expanded edition
University of Michigan Press, 2010.

Joseph Turow, NICHE ENVY: MARKETING DISCRIMINATION IN THE DIGITAL
AGE. Cambridge, MA: MIT Press, 2006.

Joseph Turow, BREAKING UP AMERICA: ADVERTISING AND THE NEW MEDIA
WORLD. University of Chicago Press, 1997; paperback edition, 1998. Mainland Chinese
translation Trans. by Bin Hong. Beijing: Huaxia Press, 2003.. Chapter 1 reprinted in the
college composition anthology, The Contemporary Reader, Seventh Edition, edited by Gary
Goshgarian (Addison Wesley Longman, 2001).

Joseph Turow, MEDIA TODAY: AN INTRODUCTION TO MASS COMMUNICATION
2nd edition. Boston: Houghton Mifflin, 2003; 1st edition, 1999.

Joseph Turow, MEDIA SYSTEMS IN SOCIETY: UNDERSTANDING INDUSTRIES,
STRATEGIES, AND POWER. New York: Longman, 1992; second edition 1997.

Joseph Turow, MEDIA INDUSTRIES: THE PRODUCTION OF NEWS AND
ENTERTAINMENT. New York: Longman, 1984.
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DECADES OF NETWORK CHILDREN'S TELEVISION. New York: Praeger, 1981.

Joseph Turow, GETTING BOOKS TO CHILDREN: AN EXPLORATION OF
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Edited Books

Matt McAllister and Joseph Turow (editors), THINKING CRITICALLY ABOUT
ADVERTISING AND CONSUMER CULTURE, New York and London: Routledge, 2009.

Joseph Turow and Lokman Tsui (editors), THE HYPERLINKED SOCIETY:
QUESTIONING CONNECTIONS IN THE DIGITAL AGE. Ann Arbor, Michigan:
University of Michigan Press, 2008.

Brooke Duffy and Joseph Turow (editors), KEY READINGS IN MEDIA TODAY. New York
and London: Routledge: 2008.

Joseph Turow and Andrea Kavanaugh (editors), THE WIRED HOMESTEAD: AN MIT
PRESS SOURCEBOOK ON THE INTERNET AND THE FAMILY. Cambridge, MA: MIT
Press, 2003.

Joseph Turow (Ed.), CAREERS IN MASS MEDIA. Chicago: Science Research Associates,
1984.


Monographs and Reports

Joseph Turow, Michael Hennessy, and Nora Draper, “Divided We Feel: Partisan Politics Drives
Americans’ Emotions Toward Surveillance of Low-Income Americans,” April 2018.
https://www.asc.upenn.edu/sites/default/files/documents/Turow-Divided-Final.pdf

Joseph Turow, Michael Hennessy, and Nora Draper, The Tradeoff Fallacy, Annenberg School
for Communication, July 2015.
https://www.asc.upenn.edu/sites/default/files/TradeoffFallacy 1.pdf

Joseph Turow, Americans, Marketers, and the Internet: 1999-2012. Annenberg School for
Communication, April 2014. http://papers.ssrn.com/sol3/papers.cfm?abstract id=2423753

Joseph Turow, Michael Delli Carpini, Nora Draper, and Rowan Howard-Williams, “Americans
Roundly Reject Tailored Political Advertising—At a Time When Political Campaigns are
Embracing It,” Annenberg School for Communication, U of Pennsylvania, July 2012.
Joseph Turow, “Buying Digital Advertising: A Brief Overview.” This is a companion to a
report on “Digital Advertising and News” by Katerina Eva Matsa, Kenny Olmstead, Amy
Mitchell and Tom Rosenstiel of the Pew Project for Excellence in Journalism, February 13,
2012. http://www.journalism.org/analysis report/buying digital advertising brief overview

Chris Jay Hoofnagle, Jennifer King, Su Li, and Joseph Turow (listed in alphabetical order),
“How Different are Young Adults from Older Adults When It Comes to Information Privacy
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Berkeley School of Law (U California, Berkeley), April 16, 2010.
Joseph Turow, Jennifer King, Chris Jay Hoofnagle, Amy Bleakley, and Michael Hennessy,
“Americans Reject Tailored Advertising and Three Activities That Enable It,” Annenberg
School for Communication (U of Pennsylvania) and Berkeley School of Law (U California,
Berkeley), November 2009.



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Good, and Jens Grossklags (U.C. Berkeley Boalt Hall School of Law), “The FTC and Consumer
Privacy in the Coming Decade,” Presented at the Federal Trade Commission meeting,
“Protecting Consumers in the Next Tech-ade,” November 8, 2006.
Joseph Turow, “Open to Exploitation: American Shoppers Online and Offline,” Report of the
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“Prime Time Doctors: Why Should You Care?” a Multi-media essay on DVD, distributed to
approximately 20,000 first-year US medical students by the Robert Wood Johnson Foundation
each summer of 2003, 2004, 2005, 2006, 2007 and 2008.
Joseph Turow, Kara Coluccio, Alyssa Hersh, Lee Humphries, Lela Jacobsohn, and Nadia
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“Americans and Online Privacy: The System is Broken.” Report of the Annenberg Public Policy
Center, June 2003.
Matthew McAllister and Joseph Turow (editors), “Commercialism and the New Media,” special
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Dramas.” A Report from the Kaiser Family Foundation, July 2002.

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Trusts, July 2002.

Joseph Turow, “Public Policies on Children’s Websites: Do They Play By the Rules?” Report
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Joseph Turow and Lilach Nir, “The Internet and the Family 2000: The View From Parents, the
View from Kids.” A Report from the Annenberg Public Policy Center of the University of
Pennsylvania, 35 pp.

"The Internet and the Family: The View from Parents, the View from the Press." A Report
from the Annenberg Public Policy Center of the University of Pennsylvania under the direction
of Joseph Turow, May 1999, 42 pp. Reprinted in Spanish by Professor Carole Cummings for a
Web site on Youth and Internet established at Diego Portales University in Santiago, Chile.

"Call-In Political Talk Radio: Background, Content, Audiences, Portrayal in Mainstream Media,"
A Report from the Annenberg Public Policy Center of the University of Pennsylvania under the
direction of Joseph Cappella, Joseph Turow and Kathleen Jamieson, and funded by the Ford
Foundation and the Carnegie Foundation of New York, August, 1996, 72 pp.

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Communication, May 6, 2022, https://annenbergpress.com/2022/03/07/international-journal-of-
communicationpublishes-a-forum-on-gandys-the-panoptic-sort/.

Joseph Turow, , “The Unending Spiral of Personalization: Voice Profiling, Biometrics, Audience
Construction, and the Future of Consent,” Advertising & Society Quarterly vol. 22, no. 4:
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Nora Draper and Joseph Turow, "The Corporate Cultivation of Digital Resignation," NEW
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Joseph Turow, Michael Hennessy, and Nora Draper, "Persistent Misperceptions:Americans’
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Life,” EUROPEAN JOURNAL OF CULTURAL STUDIES,” 8 (4) August-October, 2015, pp.
464-478.

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Nick Couldry and Joseph Turow, “Advertising, Big Data, and the Clearance of the Public Realm:
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“Nurses and Doctors in Prime Time Series: The Dynamics of Depicting
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and Consumer Privacy in the Coming Decade,” I/S: A JOURNAL OF LAW AND POLICY
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Laura Grindstaff and Joseph Turow, “Television Sociology,” ANNUAL REVIEW OF
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 “Audience Construction and Culture Production: Marketing Surveillance in the Digital Age,”
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BEITRAGE ZUR INTERKULTURELLEN UND WIRTSCHAFTSKOMMUNIKATION,
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“’The Answers Are Always In The Body’: Forensic Pathology In Us Crime Programmes,” THE
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“Internet Power and Internet Power and Social Context: A Globalization Approach to Web
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Matthew P. McAllister and Joseph Turow, “Commercialism in the New Media World,”
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“Family Boundaries, Commercialism and the Internet,” JOURNAL OF APPLIED
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“Domestic Zealotry and the Press: The Case of Kevorkian’s Euthanasia Incident,”
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Bracken.)

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norteamericana,” in Medicina y denos de comunicacion (Barcelona, Spain: Fundacion Dr. Antonio
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Graham Murdock, (Eds.), THE POLITICAL ECONOMY OF MEDIA (Cheltenham, England:
Edward Elgar, 1997).

"On Reconceptualizing 'Mass Communication,'" JOURNAL OF BROADCASTING &
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"The Challenge of Inference in Interinstitutional Research on Mass Communication,"
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"Public Relations and Newswork: A Neglected Relationship," AMERICAN BEHAVIORAL
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"Cultural Argumentation and the Mass Media: A Perspective For Research,"
COMMUNICATION, 8:2 (Autumn 1985) 139-164.
"Hospitals and Hospital Administrators on Television," HOSPITALS AND HEALTH
SERVICES ADMINISTRATION, Journal of the American College of Hospital Administrators
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"Television, the Treatment of Illness, and the Portrayal of Institutional Change," JOURNAL OF
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Danny Robinson).
"A Mass Communication Perspective on Publishing," JOURNAL OF POPULAR CULTURE
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"Local TV: Producing Soft News," JOURNAL OF COMMUNICATION (Spring, 1983) 111-
123.

"Producing TV's News: How Important is Community?" JOURNAL OF
COMMUNICATION (Spring 1982) 186-193.
"Determinants of Parental Guidance of Children's TV Viewing for a Special Subgroup: Mass
Media Scholars," JOURNAL OF BROADCASTING 26:3 (Fall, 1982) 697-711 (alphabetically
ordered authorship with Carl Bybee and D. Robinson).
"The Role of 'The Audience' in Publishing Children's Books" JOURNAL OF POPULAR
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"Broadcast Television's Publicity Outlets: An Initial Investigation," PUBLIC RELATIONS
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China, 2009)

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Television Doctors.” In L Reagan and P Treichler (Eds.) MEDICINE’S MOVING
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THE WIRED HOMESTEAD: AN MIT PRESS SOURCEBOOK ON THE INTERNET
AND THE FAMILY. Cambridge, MA: MIT Press, 2003.

Joseph Turow and Rivka Ribak, “Toward a World System Perspective on Cross-National Web
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INTERVENTION (Delft, the Netherlands: University of Delft Press, 2002).

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Organizations," in Phillip Tompkins and Robert McPhee (eds.), ORGANIZATIONAL
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in W. Rowland and B. Watkins, INTERPRETING TELEVISION. Beverly Hills: Sage
Publications, 1985, pp. 142-164.
"Corporate Planning and Media Culture," in Robert Bostrom (ed.), COMMUNICATION
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Gerald Kline (eds) STRATEGIES FOR COMMUNICATION RESEARCH. Beverly Hills:
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Commentaries and Book Reviews

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surrounding artifician intelligence, November 29, 2018, https://www.newamerica.org/public-
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2018, p. A23, https://www.nytimes.com/2018/08/20/opinion/20Turow.html

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McAllister (Penn State U) recorded by invitation for the website of the journal ADVERTISING
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ab..0.30.2412...0j0i131k1j0i22i30k1j0i22i10i30k1j33i21k1.0.s70AKQ1dCRE




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oseph+turow"+google&oq=Fortune+"joseph+turow"+google&gs l=psy-
ab.3..33i160k1l2.1664.11510.0.11848.31.31.0.0.0.0.106.2506.30j1.31.0....0...1c.1.64.psy-
ab..0.30.2412...0j0i131k1j0i22i30k1j0i22i10i30k1j33i21k1.0.s70AKQ1dCRE

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Eyes: "Incessant Consumer Surveillance is Leaking Into Stores," The Atlantic, October 20, 2016.
https://www.theatlantic.com/technology/archive/2016/10/incessant-consumer-surveillance-is-
leaking-into-physical-stores/504821/

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https://www.theatlantic.com/business/archive/2017/02/turow-aisles-future-of-
shopping/517413/

“Behavior Aside, Consumers Do Want Control of Their Privacy,” Advertising Age, January 29,
20013, p. See also http://adage.com/article/guest-columnists/behavior-consumers-control-
privacy/239376/

Invited blogger for ConcurringOpinions.Org, a popular blog site for law professors and
policymakers. Wrote three short opinion entries: “The Hidden Dynamics of the Media System,”
“The Disconnect Between What People Say and Do About Privacy,” and “The Valentine’s Day
Gift That Keeps On Giving.”

“The Importance of Distribution.” Written response to invited panel discussion on Media
Industries at CarseyWolf Center at the University of California, Santa
Barbara.http://www.carseywolf.ucsb.edu/files/Turow NetWorth.pdf , 2010.

“Don’t Give Google Double the Power,” SAN FRANCISCO CHRONICLE, October 3, 2007,
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“Wir Erleben Die Geburtsstunde Giner Kultur Der Verdächtigungen,” GDI IMPULSE
(Zurich, Switzerland), Fall 2007, pp. 64-69

Joseph Turow, Robert Gellman and Judith Turow, “Why Marketers Want Inside Your Medicine
Cabinet,” SAN FRANCISCO CHRONICLE, March 5, 2007, p. D-9.
Joseph Turow, Robert Gellman and Judith Turow, “Personalized Marketing of Health Products
the 21st Century Way,” VIRTUAL MENTOR: AMERICAN MEDICAL ASSOCIATION
JOURNAL OF ETHICS, March 2007 (9:3), pp. 206-209.

“Hidden Messages: Is New Technology Empowering Consumers – Or Marketers,” BOSTON
GLOBE, August 27, 2006, p. D6.
“Industrial Folklore: George Gerbner’s (Tele)Vision,” THE AMERICAN INTEREST 1:4
(Summer, 2006), pp. 101-106.

“Have They Got a Deal For You; It’s Suspiciously Cozy in the Cybermarket,” THE
WASHINGTON POST, June 19, 2005 An invited essay for the Sunday edition; republished in
Newsday, the Pittsburgh Post-Gazette, and other newspapers.



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consulting firm, week of January 19, 2004.
Book review of Commercial Culture: The Media System and the Public Interest by Leo Bogart
in PUBLIC OPINION QUARTERLY (in press).
Joseph Turow, John Bracken, and Lilach Nir, “Special Report--The Internet and the Family: The
View from the Press,” ON THE INTERNET: AN INTERNATIONAL PUBLICATION OF
THE INTERNET SOCIETY, July/August, 1999, pp. 26-41.

Joseph Turow and Arthur Caplan, "Media dropped the ball on Kevorkian broadcast,"
DETROIT FREE PRESS, Sunday, February 28, 1999, page 3J
"Workplace Bathroom as Think Tank," LOS ANGLES TIMES, March 2, 1998, pp. F8-F9.
“Breaking Up America: The Dark Side of Target Marketing,” AMERICAN
DEMOGRAPHICS, in November, 1997.
"Image Tribes," PENNSYLVANIA GAZETTE, May 1997.
"Interview with Larry King" In Larry King, FUTURE TALK (New York: Harper Collins, 1997).
“Print Media Coverage of Political Talk Radio,” Annenberg School For Communication,
August, 1996.

“Television’s Doctor Shows,” ENCYCLOPEDIA BRITANICA 1996 MEDICAL ANNUAL
(Chicago: Encyclopedia Britannica, 1995), pp. 104-117.

"Doc Shows Give Wrong Health-Care Diagnosis," LOS ANGELES TIMES, October 31, 1994,
p. F3.
"Book Review" of SOCIETY'S IMPACT ON TELEVISION, by Gary Selnow and Richard
Gilbert, JOURNAL OF BROADCASTING AND ELECTRONIC MEDIA, Summer, 1994,
pp. 367-369.

"Book Review" of PUBLIC RELATIONS ANNUAL by Larissa Grunig and James Grunig,
JOURNAL OF COMMUNICATON.

"Commentary: Now's the Right Time for Dr. Kildare and Ben Casey," LOS ANGELES
TIMES, December 18, 1993, p. F17, F22.
"Commentary: Just Boys or Civilization Destroyers? Say what you will about the moronic duo
[Beavis and Butt-head], they've helped to cement MTV's identity with viewers and advertisers,"
LOS ANGELES TIMES, September 12, 1993, Sunday Calendar Section, p4 and 73.

"Commentary: Can a Meanie Make It in Sitcomland?" LOS ANGELES TIMES, December 29,
1992, p. F3 and F5.

"Book Review" of ORGANIZATIONAL LIFE ON TELEVISION by Leah Vande Berg and
Nick Trujillo in JOURNALISM QUARTERLY.
Book Review" of AN EMPIRE OF THEIR OWN by Neal Gabler in JOURNAL OF
COMMUNICATION, Autumn 1989.



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"Book Review" of THE HOLLYWOOD TELEVISION PRODUCER by Muriel Cantor in
JOURNAL OF BROADCASTING AND ELECTRONIC MEDIA 32:4 (Fall,.1988), 495-97.
"Television Doctors and the Real World," RESIDENT & STAFF PHYSICIAN, July 1986, 74-
79.
"Book Review" of TELEVISION IN THE PUBLIC INTEREST by Michael Botein and David
Rice in CONTEMPORARY SOCIOLOGY.
"Book Review" of POSITIVE IMAGES: BREAKING STEREOTYPES WITH
CHILDREN'S TELEVISION by Jerome Johnstone and James Ettema in AMERICAN
JOURNAL OF SOCIOLOGY.
"Children's Television" entry (on program THE SMALL FRY CLUB) in Clifford Johnson, THE
BOOK OF DAYS. Ann Arbor, Michigan: Pierian Press, 1987 (with Wendy Hajjar).
"A View of Broadcast Museums," VARIETY (April 9, 1986) 96, 111.

"Book Review" of CREATING MEDIA CULTURE by Robert Snow
in JOURNAL OF COMMUNICATION 34:3 (Summer, 1984) 193-196.

"Book Review" of BOOKS: THE CULTURE AND COMMERCE OF PUBLISHING BY L.
Coser, C. Kadushin, and W. Powell, in LIBRARY QUARTERLY 53:2 (Spring, 1983, 191-192.

Book Review of OBJECTIVITY AND THE NEWS by Dan Schiller, in LIBRARY
QUARTERLY 52:1 (January, 1982) 70-71.
"Book Review" of TELEVISION TODAY in LIBRARY QUARTERLY 51:4 (October, 1981)
454-456.

"Book Review" of PROGRESS IN THE COMMUNICATION SCIENCES edited by Melvin
Voigt and Gehardt Hanneman, in Library Quarterly 51:1 (October, 1981) 126-127.

"Expanding the Spectrum of Choice in the Mass Market," SIGNAL (the official newsletter of
the International Reading Association's Special Interest Group on Adolescent Literature) 3:6
(February, 1978) 1-3.
"Book Review" of TUBE OF PLENTY: THE EVOLUTION OF AMERICAN
BROADCASTING by Eric Barnouw, in JOURNAL OF BROADCASTING 21:1 (Winter,
1977).
"Book Review" of POWER TO PERSUADE: MASS MEDIA AND THE NEWS by Robert
Cirino, in JOURNAL OF BROADCASTING 19:3 (Summer, 1975) 378-379.

   Editorial and Academic Consulting Activities

-Editorial Board Member, ADVERTISING & SOCIETY QUARTERLY, 2022-
Founding Advisory Board, Northeast Regional Privacy Scholars Conference, 2017-
-Editorial Board Member, JOURNAL OF BROADCASTING & ELECTRONIC MEDIA,
2012- , and JOURNAL OF MEDIA INDUSTRIES, 2014-
-Advisory Board Member, MEDIA AND COMMUNICATION journal of the Union of Local
Public Broadcasters of Montenegro, Europe.


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- Series Editor, “New Media World,” University of Michigan Press, 2008-
- Editorial Board Member, INTERNATIONAL JOURNAL OF COMMUNICATIOLN, 2018-
continuing.
- Editorial Board Member, POETICS, 2002- 2018.
- Editorial Board Member, JOURNAL OF BROADCASTING & ELECTRONIC MEDIA,
1985-1994; 1997 -continuing.
- Editorial Board Member, JOURNALISM, 2001- 2006.
- Editorial Board member, CRITICAL STUDIES IN MEDIA COMMUNICATION, 1984-
1989 (founding editorial board) and 1998-2003.
- Advising and Contributing Editor, JOURNAL OF COMMUNICATION, 1981-1991; 1996 -
2000.
- Editorial Board Member, Sage Annual Reviews of Communication Research, 1986-continuing
- Founding International Advisory Board, NEW MEDIA AND SOCIETY, 1998 - continuing.
- Editorial Board Member, ENCYCLOPEDIA OF ADVERTISING.
- Awarded a major grant from the Kaiser Family Foundation for study study of health care
policies on TV hospital series.
- Awarded a major grant from the Annenberg Public Policy Center for a multi-faceted study of
the family and the Internet, 1998-99.
- Co-Principal Investigator on grant from the Ford Foundation to study the process and effects
political talk radio, 1996. Other Principal Coinvestigators: Professors Kathleen Jamieson and
Joseph Capella.
- Program review consultant, Rutger's University Department of Communication, March 1992.
- Communication Advisory Panel, Please Touch Children's Museum (Philadelphia), 1992-1993.
- Advisory Board Member, WPBT-TV, Miami, National Programming Division, for a new series
aimed at "reluctant readers," 1991-
- Advising Editor, Ablex Communication Book Series, 1988-1991.
- Advisory Board Member, Telecourse Project on Mass Communication, WGBH-TV Boston,
1989-1991.
- Appointed to the National Endowment for the Humanities Summer Stipend Advisory
Committee, 1987
- Assistant Editor, CENTRAL STATES SPEECH COMMUNICATION JOURNAL, 1983-
1985
- Editorial Board Member, COMMUNICATION EDUCATION, 1978-1982.
- Occasional referee for manuscripts submitted to COMMUNICATION MONOGRAPHS,
HUMAN COMMUNICATION RESEARCH, THE WESTERN SPEECH
COMMUNICATION JOURNAL, POLITICAL COMMUNICATION, and THE LANCET.
- Reviewer of book manuscripts for HarperCollins, Holt, Rhinehart, & Winston, Allyn and
Bacon, Bobbs-Merrill, Scott-Foresman, Sage Publications, Oxford University Press, and other
publishers.


    Invited Presentations (examples)


- Keynote address, “The Unending Spiral of Personalization: Voice Profiling, Biometrics,
Audience Construction, and the Future of Consent,” meeting on voice technologies and privacy,
Radbout University (Nijamen, The Netherlands), via Zoom, February 23, 2022.



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- Keynote address, Advertising & Society conference, November 12, 2021; address video published
online in Advertising & Society Quarterly.
- Communications and Media Annual Lecture 2021, London College of Communications,
planned for November 17, 2021.
- Held an “Author Meets Critics” discussion about The Voice Catchers with Nora Draper, Mara
Einstein, James F. Hamilton, and Edward Timke, Advertising & Society Quarterly Conference,
via Zoom, November 2021.
- Invited lecture, “Voice Biometrics, Marketing, and the Problem of Consent,” University of
Washington Law School, October 28, 2021.
- Keynote discussant, Toronto (Canada) Public Library system and McMaster University
discussion series “Big Tech in Our Backyards,” on May 14, 2021, via Zoom, focusing The Voice
Catchers and The Aisles Have Eyes.
-Panel speaker, “Retailing and Discriminatory Digital Technologies,” European University
Institute conference on “Pricing Technologies and their Economic and Social Technologies,”
forthcoming on March 26, 2021.
- Keynote Speaker, “Seductive Surveillance and Consumer Technology: Ethical Challenges in
Media Work,” Lehigh University, October 20, 2020.
-“Seductive Surveillance and Social Change: The Rise of the Voice Intelligence Industry,”
Association of Internet Researchers annual conference, October 5, 2020.
-Panel speaker, “How Do We Move Beyond Consent Models in Privacy Legislation?” Public
Knowledge webinar, August 21, 2020.
- “Seductive Surveillance and Social Change,” Privacy Scholars Law Conference, June 4, 2020.
- Keynote speaker, “The Resignation Industry and the Future of Media,” Infrastructures of
Datafication conference, University of Copenhagen, September 12, 2019.
-“What Americans Don’t Know About Marketing Research,” invited talk to Facebook
Corporation’s Advertising Research group, July 31, 2019
--“The Resignation Industry and the Future of Media,” Invited talk to Capitol Hill staffers
arranged through the Wharton Policy Initiative, October 25, 2019
- Invite lecture, “The Rise of the Voice Intelligence Industry,” University of Copenhagen,
September 2019.
- Invited Melvin DeFleur Memorial Lecture, “The Resignation Industry and the Future of
Media Studies,” Boston University School of Communication, April 4, 2019.
-Invited lecture, “The Corporate Cultivation of Digital Resignation,” CyLab Privacy and Security
Institute, March 28, 2019.
-The Rise of the Resignation Industry," an invited lecture at Haifa University's Cyber Law
Center, February 2019.
- Invited lecture, “Toward a Sociology of Resignation,” Stanford University Department of
Communication, October 1, 2018.
- Invited presentation at the “Technology and the Self” conference sponsored by the American
American Academy of Sciences at Stanford University’s Advanced Study in the Behavioral
Sciences, September 29, 2018.
- Invited lecture, “The Resignation Industry and the Future of Media Studies,” Cornell
University Department of Communication, April 30, 2018.
-Keynote speaker, “The Data Explosion Online and Off: Pros and Cons,” at a symposium in
honor of Wayne State University’s 150th anniversary, March 16, 2018.
-Keynote speaker, “Exploring Everyday Life to Understand Digital Democracy,” at “Digital
Democracy: Critical Perspectives in the Age of Big Data,” Sodertorn University, Stockholm
Sweden, November 11, 2017.
-Keynote speaker, “Branded Content and the New Advertising Landscape,” Branded Content
Research Network Conference, University of East London, November 7, 2017.


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-Invited lecture, "The Hidden Life of Data in 21st Century Commerce," Invited talk jointly by
the University of Amsterdam Schoool of Communication Research (ASCoR) and the University
of Amsterdam Law School, Amsterdam The Netherlands, February 2017; also presented as an
invited lecture at Ryerson University's Privacy and Big Data Institute, Toronto Canada,
February, 2017.
-Competitively selected speaker, first “Privacy Con” meeting, Federal Trade Commission,
January 14, 2016.
-Keynote panelist, Data Power Conference 2015, University of Sheffield, June 22, 2015.
-Invited lecture, Temple University School of Communication, February 3, 2015.
-On stage "interview" of me about privacy and marketing conducted as a session at the
"Mediapost RTB [real-time-bidding]"conference during Advertising Week in New York City,
October 2014.
-Invited presentation, "Big Data, Marketing, and Discrimination," Federal Trade Commission
meeting on "Big Data: A Tool for Inclusion or Exclusion," September 15, 2014.
-Presented annual Ethics and Media lecture, Loyola Marymount University, March 2014.
-Invited panelist, Alternative Scoring Products seminar, Federal Trade Commission, March
2013.
-Invite lecture, Goldsmith College, University of London, May 2013
-Presented invited written and oral testimony at the US Senate Committee on CSommerce,
Science, and Transportation, December 2013.
-Invited lecture, University of Southern California Annenberg School, October 2013.
-Invited speaker, Culture Industries Workshop, Haifa University, October 2013.
-Invited lecture, Goldsmith College, University of London, May 2013.
-2013 John P. MCGovern Lecture in Health Communication, University of Texas at Austin,
April, 2013.
-2013 Choice Scholar Lecturer for the Lambda Pi Eta Communication Honors Society at
University of California, Santa Barbara, April 2013.
-Ford Foundation conference speaker on big-data and the media, October, 2012.
-Keynote Speaker, Cross-university journalism symposium in Helsinki, Finland, scheduled for
May 10, 2012.
- Keynote Speaker, Ad-Tech conference in San Francisco, April 4, 2012.
- Keynote Speaker, Deutcher Medienkongress 2012, Frankfurt Germany 2012
- Faculty Seminar, Hebrew University’s Department of Communication, December 27, 2011.
- Talk to the Federal Trade Commission Bureau of Consumer Protection, Washington, DC,
October 4, 2011.
- Guest speaker, RIA Novosti press center (Moscow), as part of a series of seminars to
commemorate RIA Novato’s 70th anniversary. September 8, 2011. See
http://en.rian.ru/agency news/20110816/165826671.html
- Moscow State University School of Journalism, September 6, 2011.
- UCLA School of Nursing, Keynote Speaker, May 2011
- Haifa University, Israel, Keynote Speaker at the launch of a new information Studies
Program, December 2010.
- New Media Days annual industry conference, Copenhagen, Denmark, Keynote Speaker,
November 2010
- Invited testimony at a hearing titled “Consumer Online Privacy” convened by the U.S. Senate
Committee on Commerce, Science, and Transportation, July 27, 2010.
- Robert Wood Johnson Foundation-sponsored conference on Digital Food-Marketing to
Children, Washington, DC, April 2010
- Grand Rounds, Department of Neurosurgery, University of Pennsylvania School of Medicine,
forthcoming May 2010
- Fordham University Law School, October 2009
- Columbia University School of Journalism, October 2009


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- Louisiana State University, Department of Communication (two talks), November 2009
- National Communication Association preconference on new approaches to media industries,
November 2009
- Advertising Research Foundation, November 2009
- Microsoft Corporation, December 2009.
- Columbia University School of Journalism, December 2009.
- Louisiana State University, November 2009.
- Fordham University Law School, November 2009.
- Yale Law School, March 2009
- Oxford Internet Institute, Oxford University, June 2009.
-Distinguished Lecture, BSF/DIMACS/DyDAn Workshop on Data Privacy, Rutgers
University, February 2008.
-Invited speaker, Beijing Forum, Beijing China, November, 2007.
- Keynote speaker, International Workshop on Data Mining and Audience Intelligence for
Advertising , August. 2007
- Microsoft Research, Redmond, Washington, lecture on “Niche Envy,” February 2007
- National University of Singapore, lecture on “Media Storytelling, Marketing, and Soft Power,”
January 2006.
- Federal Trade Commission, October 2006.
- Stanhope Center (London) lecture on “Shopping in the Digital Age,” July 2005.
- Ford Foundation meeting, panelist on academic concerns over copyright, January 2005.
- Invited keynote speaker, Haifa University, and invited lecturer, Ben Gurion University of the
Negev, Israel, November 2004.
- Central European Budapest, October 2004, series of lectures.
- University of South Florida College of Medicine, March 2004, “Media’s Image of Today’s
Physician: A Message to Future Doctors,” Tampa, Florida.
-National Academy of Sciences, Board on Children, Youth and Families, January 2001
-Invited lecturer, Haifa University, Israel, November 2000
-Chancellor’s Distinguished Lecturer, Louisiana State University, April 2000
-Invited lecturer, Hebrew University, Tel Aviv University, and Haifa University, Israel, February
2000
-Fordham University, April 1999
-Philadelphia Newspapers, Incorporated, January, 1998.
-Fleishman Hillard international retreat, November, 1997.
-Fleishman Hillard New York executive meeting, October, 1997.
-New York University, May, 1997
-Florida Bar Association, March 1977.
-Senior Fellows Program, University of Texas, September 1996.
-Center For Bioethnics, University of Pennsylvania, June 1996.
-Grand Rounds lecture, Department of Pediatrics, Thomas Jefferson University Hospital, June
1996.
-Sieganthaler Conference on the Press, Nashville, Tennessee, April 1996.
-Medical College of Pennsylvania (Grand Rounds Humanities Lecture), September, 1994.
-International Communication Association, Sidney Australia July 1994
-St. Andrews Episcopal Church, March 1994, Luncheon Series on Media and Social Values
-The College of Physicians of Philadelphia (Leslie Nicholas Lecture), October, 1993
-University of Delaware, Department of Communication, November 1992
-The Center for the Humanities, Wesleyan University, October 1992
-Conference on Social Theory, Policy, and the Arts, October 1992.
-Stiftung Lesen conference, Mainz (Germany), September, 1992
-Florida Atlantic University, February, 1992
-Twentieth Century Fund, October 1991
-Institute For Contemporary Art, Philadelphia, October 1991


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-American Sociological Association, August 1991
-University of Pennsylvania Medical School entering class, January 1990
-University of Chicago Medical School, December 1989


    Quotes and Appearances in Mass Media (examples)

- Joe Nocera, business columnist of The New York Times, cited my research (with Nora Draper)
on digital resignation in his article “How Cookie Banners Backfired,” January 29, 2022,
https://www.nytimes.com/2022/01/29/business/dealbook/how-cookie-banners-backfired.html
-Guest Essay, “Hear That? It’s Your Voice Being Taken for Profit,” The New York Times,
September 12, 2021, https://www.nytimes.com/2021/09/12/opinion/voice-surveillance-
alexa.html
- Article about my book The Voice Catchers by Shira Ovide, Tech Columnist of The New York
Times, “Should Alexa Read Our Moods,” New York Times, May 19, 2021,
-Interviewed regarding digital holiday shopping on Marketplace Tech, November 24, 2020,
- Interviewed by CNN.com about retailer-customer relations during the Covid pandemic, April
13, 2020.
-Quoted in “Welcome to the Promoconomy,” by Jill Krasny, New York Times 20 August 2019.
-Quoted in “Timing Spurred Netflix Scene Cut,” by Joe Flint, Wall Street Journal and
Dow Jones Institutional News, July 18, 2019.
-Quoted in “Will Users Dump Google For an Offer of Privacy?” by Nathaniel Popper, The
New York Times, 20 July 2019; also via New York Times Newsfeed and International New York
Times.
-Essay "Mark Zuckerberg's Delusion of Consumer Consent," appeared in the “Opinion” (Op-
Ed) Section of the New York Times, January 29, 2019,
https://www.nytimes.com/2019/01/29/opinion/zuckerberg-facebook-ads.html .
-Interviewed for an entire “Communicators” show in October 2018 on C-Span. The interview
is available online. https://www.c-span.org/video/?452648-1/communicators-joseph-turow
-Essay “Let’s Retire the Phrase ‘Privacy Policy,’” appeared in the “Opinion” (Op-Ed) Section of
the New York Times, August 20, 2018, p. A23,
https://www.nytimes.com/2018/08/20/opinion/20Turow.html
-New York Times article about the Divided We Feel report: Natasha Singer, “Creepy or Not? Your
Privacy Concerns Probably Reflect Your Politics,” New York Times, April 30, 2018, pB4,
https://www.nytimes.com/2018/04/30/technology/privacy-concerns-politics.html
-Interviewed about The Aisles Have Eyes on NPR’s “Fresh Air with Terry Gross,” February 13,
2017.
-Interviews about The Aisles Have Eyes during Winter and Spring 2017 on public radio’s
Marketplace, CBS Morning News, the BBC Radio 4, public radio’s Marketplace and in Kiplinger’s
Personal Finance magazine, among others.
-The New York Times devoted an article on the first page of the Business Section to the “Tradeoff
Fallacy” report, June 4, 2015. Among the more than 3000 articles discussing the report were
those from The Washington Post, Techcrunch, Fortune, ClickZ, and Mediapost.
-Interview with Bloomberg TV on “The Tradeoff Fallacy,” June 9, 2015.
-Quoted in The Business of Fashion (UK) on “Will Personalised Pricing Take E-Commerce
Back to the Bazaar,” March 20, 2015.
-Quoted in The Guardian (UK) on the rise of voiceprint ID Technology, October 14, 2014.
-Quoted in The New York Times and Washington Post regarding Facebook’s decision to let users
alter their ad profiles, June 13, 2014.


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-Appeared in a Marketplace radio program report (on NPR) on data brokers, May 28, 2014.
-Profiled and interviewed in Marketing News, the magazine of the American Marketing
Association, March 2014.
-Quoted in The New York Times, International Herald Tribune, Toronto Star, and other news outlets
about the implications of data broker Acxiom’s activities, September and October, 2013.
- Entire New York Times article devoted to my lead-authored report on tailored political
advertising, July 24, 2012.
-Interviewed by Terry Gross on NPR program “Fresh Air” February 22, 2012.
- Among other places, articles about my work appeared in The Philadelphia Inquirer (December
4, 2011), The Chronicle of Higher Education (January 29, 2012), The New York times (February
21, 2012), Philadelphia Inquirer (March 11, 2012), Christian Science Monitor (March 14, 2012),
and Times Higher Education Supplement (April 5, 2012)
-The Associated Press carried results of the report on young adults and privacy (April 15, 2010)
and the article appeared in newspapers throughout the US and the world. A story by Agence
France Presse based on an interview with me gave the research further coverage in print and
online. Google News lists 346 links to the topic.
- The New York Times quoted me in three separate articles regarding media-and-marketing
issues during the 2010-2011 academic year—on November 14, 2010, August 30, 2010, and
August 8, 2010. The latter article, in the New York Times Magazine, called me “ranking wise
man on some thorny new-media and marketing topics.”
- Marketplace, a popular public-radio program, interviewed me four times during the 2010-2011
academic year for media-and-marketing stories—on March 17, 2011, December 20, 2010,
October 27, 2010, October 14, 2010, and August 14, 2010.
- NPR’s Studio 360 built a story around my new Playing Doctor book, which it called Playing
Doctor. The piece aired on December 10, 2010, as part of a Studio 360 program on medicine in
popular culture.
- The Associated Press carried results of the report on young adults and privacy (April 15, 2010)
and the article appeared in newspapers throughout the US and the world. A story by Agence
France Presse based on an interview with me gave the research further coverage in print and
online.
- New York Times article quoting my comments at Federal Trade Commission roundtable on
privacy, December 7, 2009.
- Entire New York Times article with data chart and photo of me devoted to the report on
tailored advertising, September 29, 2009
- Research described in Saul Hansell’s New York Times “Bits blog, March 19, 2009.
- Quoted in New York Times, Washington Post, USA Today, public radio’s Marketplace, and
elsewhere regarding the FTC decisionmaking regarding Google’s decision to buy DoubleClick,
late 2007.
- Findings of the “Open for Exploitation” survey reported in an Associated Press national
article, on CNN, MSNBC, Fox, the New York Times, Washington Post, and many other news
outlets throughout the US and internationally.
- Quoted prominently in a New York Times Magazine article about the Nielsen ratings, April 10,
2005. The article named “Joseph Turow . . . probably the reigning academic expert on media
fragmentation….”
- Research highlighted in the Penn Arts & Sciences Magazine, Winter 2005.
- Interviewed in a story about cameras in the courtroom that appeared on CNN, July 2, 2004.
- Profiled (with photo) in The New York Times (June 14, 2004) about the Knowledge Held


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Hostage conference I implemented.
- Interviewed in a story on cellphone privacy that appeared on the CBS Evening News with Dan
Rather and the CBS Morning News, December 2 and 3 2003.
- Front page article (with photo) in Philadelphia Business Journal (July 28, 2003) about the
Robert Wood Johnson funded CD, Prime Time Doctors: Why Should You Care?
-“Americans and Online Privacy,: the APPC report released in June 2003, received coverage in
the Wall Street Journal, New York Times, and Washington Post as well as nationally and
internationally through Associated Press and Reuters articles.
-Article in The New York Times (12/29/02) about my attempt to de-capitalize the word
internet.
-The Today Show (NBC) August 24, 2002, on ethical issues relating to pharmaceutical marketing
-The study for the Kaiser Family Foundation on health policy issues in TV’s medical dramas was
cited in several newspapers around the US.
-The 3rd Internet and the Family report, released at the end of March, 2001, received exclusive
coverage in the New York Times and then appeared in many news sources across the country,
including the Washington Post, Chicago Tribune, LA Times, Associated Press, and MSNBC.
The study was received favorably by the Federal Trade Commission; it has been cited in at least
one congressional hearing, and it continues to be cited in an ongoing debate about the
Children’s Online Privacy Protection Act.
-Over 100 television appearances, hundreds of newspaper quotes, Time magazine citation, and
several radio interviews around release of “The Internet and the Family 2000,” May 2000.
-Appearance on ABC Evening News spot about target marketing, March 2000.
-Various newspaper quotes (including Newsday regarding AOL’s proposed purchase of Time
Warner.)
-The Internet & Family study received enormous coverage in print, broadcast, and on the
Internet during early May 1999. A (national) front page article in The New York Times was
picked up around the nation. A long Associated Press piece was also circulated throughout the
country, as were a Newsday article and Knight-Ridder wire article. CBS news commentator
Charles Osgood read a poem about the study on the CBS Radio Network.
-National Public Radio, Talk of the Nation guest for entire hour on media and social
segmentation, January 1999
-Philadelphia Inquirer, May 10, 1998, large article highlighting my research.
-Toronto Globe and Mail, August 9, 1997, entire article about Breaking Up America
-Atlantic Monthly, June 1997, entire article on Breaking Up America
-Talk of the Nation, May 6, 1997; the entire program focused on Breaking Up America
-Christian Science Monitor, October 3, 1996, on strategies behind television’s fall shows
-Houston Chronicle, August 25, 1996, on political talk-radio report
-National AP wire, August, 1996, on the impact of media mergers on radio
-Newsday, August 4, 1996, on strategies behind the networks’ “family” dramas
-Today Show, November 17, 1994, on the history of doctor images on television
-Dateline NBC , July 10, 1993, on product placement in television and theatrical film




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